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                               UNITED STATED DISTRICT COURT
                                  DISTRICT OF NEW JERSEY
                                 MINUTES OF PROCEEDINGS



OFFICE:    TRENTON                                        DATE: June 18, 2015

JUDGE: MICHAEL A. SHIPP

COURT REPORTER: CATHY FORD

                                                           Docket # 12-CV-1475

 TITLE OF CASE:
STEPHEN TREWIN, ET. AL.
            vs.
CHURCH & DWIGHT, INC.

             DEFT. PRESENT

APPEARANCES:
James Shah, Esq. for Plaintiff
Baldassare Vinti, Esq. for Defendant


NATURE OF PROCEEDINGS: Final Approval/Fairness Hearing
Hearing on Class Representatives application for final approval of
settlement (#64).
Terms of settlement placed on the record.
Stephen Trewin sworn, colloquy conducted regarding terms of
settlement.
Decision placed on the record.
Class Certification and Settlement Approved.
Order to be entered.


Time commenced: 1:10 PM
Time Adjourned: 1:40 PM
Total Time: 30 MIN


                                                          s/Nativelis Rodriguez
                                                            DEPUTY CLERK
